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 1
                          Attachment to Form CJA 23 (filed under seal)

 2         1.     I am presently on home confinement and residing in Venice, California with
 3
     a friend,                     . The residence has two bedrooms and one bathroom, with
 4

 5   approximately 1000 square feet of living space. I sleep on an air mattress in one of the

 6   bedrooms.
 7
           2.     In the last 12 months, my gross income totaled less than $150,000. For the
 8
 9   last six months, since my remand to custody on January 15, 2020, I have been unable to

10   earn any income.
11
           3.     I was previously employed primarily as a lawyer, licensed to practice in the
12

13   State of California since June of 2000. I am currently unemployed due to the current

14   conditions of my home confinement, my February 14, 2020 conviction in New York in
15
     the case of United States v. Avenatti, (U.S. District Court Case No. 1:19-CR-00373-
16

17   PGG (SDNY) (the “Nike” matter)), and my subsequent suspension from the practice of

18   law by the State Bar of California. I do not know if or when I will be able to work again,
19
     either in the legal profession or in any other profession.
20

21         4.     Due to my current financial condition, I am unable to pay rent or pay my
22   general living expenses. I rely on family, friends and supporters to pay for these
23
     expenses.
24

25         5.     My liabilities (i.e. debts) greatly exceed my assets by millions of dollars.
26   For instance, I have over $11 million in judgments against me as claimed by the
27
     government in my recent criminal trial in New York relating to Nike. This does not
28
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 1
     include millions in additional judgments that are likely to accrue from other litigation in

 2   which I am a defendant. These additional judgments could total an additional $10
 3
     million or more in the coming months. Further, I have substantial additional debts
 4

 5   totaling in excess of $750,000, including past due amounts owed to legal counsel other

 6   than              and amounts owed under my prior residential lease as a result of my
 7
     eviction.
 8
 9           6.    I understand the term “liquid assets” to be defined as cash, cash equivalents

10   (i.e. checks), monies on deposit, bonds, publicly traded stocks and securities, and
11
     precious metals. I presently have less than $1,000 in liquid assets, which consists of
12

13   cash and cash on deposit. I do not have any bank account located outside the United

14   States nor have I ever had any bank account located outside the United States.
15
             7.    I do not own any real property or any interest in any real property.
16

17           8.    During the last 24 months, judgment creditors have seized various assets

18   from me including cars, watches, stock, cash on deposit, and art. I presently do not own
19
     any automobiles, watches valued at over $500, jewelry valued at over $500, or art valued
20

21   at over $500. I do own household items, and furnishings and clothes, although I believe
22   their market value is negligible.
23
             9.    My “net resources,” which I understand to be liquid assets minus (i) debts,
24

25   including judgments, and (ii) living expenses for me and my dependents, are a negative
26   number in the millions of dollars. Even my liquid assets minus my current living
27
     expenses alone is a negative number.
28
                                                    2
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 1
           10.    My immediate family consists of my two minor daughters, my minor son,

 2   my parents (both in their 80s with limited income), and my estranged wife
 3
                      who I have not spoken with in over six months. I also have a half-
 4

 5   brother and half-sister, but I am not close with them and have not seen them in over 20

 6   years. None of my immediate family members have indicated a willingness and
 7
     financial ability to assist me with my defense.
 8
 9         11.    I am married, but have been separated from my second wife,

10           , since 2017. We were married before separating for approximately six years
11
     and are presently embroiled in a contentious divorce proceeding in Orange County,
12

13   California. I believe Ms.                  is employed, but I have no knowledge as to her

14   income or finances, nor am I receiving any support or assistance from her.
15
           12.    I have one child from the marriage to                       , a son who is
16

17   almost six years-old.                      currently claims that I owe her over

18   $2,000,000 in back spousal and child support (over $150,000 per month), but I dispute
19
     this amount because (a) it is founded on grossly inflated income and expense figures that
20

21   she provided to the family court and (b) fails to account for her receipt and/or
22   expenditure of over $1,700,000 after our separation.
23
           13.    I was previously married to                              . We were divorced in
24

25   2007 after 13 years of marriage. I have two minor daughters from our marriage, one is
26   15 years-old and one is 17 years-old. In reliance on the government’s allegations in the
27
     indictment in the California criminal case regarding my alleged income and the inflated
28
                                                  3
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 1
     numbers used by                         in our divorce, both of which I dispute,

 2                    is now claiming that I owe her over $5,000,000 in back spousal and
 3
     child support, although no final judicial determination has been made by the family court
 4

 5   as to this alleged debt.

 6         14.    I own stock in two closely held companies that may have value: (a)
 7
                                    located in                              and (b)
 8
 9                     located in                       . I have never received any income from

10   either company nor am I an employee, officer or board member of either company. The
11
     combined value of the stock is undetermined as the shares are not publicly traded, but it
12

13   is believed to be less than $50,000. I know of no way to sell my shares now or receive

14   any cash from the shares.                          may also have an interest in the shares as
15
     a result of the community property laws in California.
16

17         15.    I technically still have an interest in a private aircraft (model: HondaJet

18   420) that was seized by the government (IRS) and is still in their possession. This
19
     interest is held through a single-purpose entity named                           , of which I am
20

21   a 50% owner. The current market value of my interest, if any, is undetermined. The
22   aircraft is subject to a forfeiture action and my interest in the plane is also subject to
23
     claims by other creditors holding judgments against me.
24

25         16.    I have an ownership interest, directly or indirectly, in attorneys’ fees from
26   various contingency lawsuits and the following law firms: Eagan Avenatti, LLP
27
     (presently in bankruptcy); Avenatti & Associates, APC; Augustus, LLP; and Avenatti,
28
                                                    4
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 1
     LLP. The current market value of my interests is undetermined and is largely dependent

 2   on creditor claims and future fee revenue, if any, from cases previously handled by me
 3
     and the firms. It is unclear as to when, if ever, I will receive any contingency income
 4

 5   from any particular lawsuit. It is possible that these monies could be significant in the

 6   future depending on the outcome of various cases/appeals, but the amount or likelihood
 7
     of success is presently unknown. I know of no way to monetize my interests in order to
 8
 9   raise monies for my defense.

10         17.    I own a membership interest in a time-share similar vacation club named
11
                       , which was purchased in approximately 2009. The current market
12

13   value, if any, is undetermined, especially because (a) there are significant restrictions on

14   transfer of the membership imposed by the club and (b) if you do not pay your yearly
15
     dues, which I have not, you risk losing the value of the membership. I know of no way
16

17   to monetize this interest as I am informed that the interest cannot be transferred outside

18   of my immediate family.
19
           18.    I own various life, book and movie rights relating to my story and my life.
20

21   The current market value of these rights, if any, is undetermined.
22         19.    I may have rights to seek to recover monies from one or more parties
23
     relating to legal claims I may have. This includes, but is not limited to, my second wife
24

25                             and                      . The value of these rights, if any, is
26   undetermined.
27

28
                                                   5
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 1
           20.    I am a party to various lawsuits (as a defendant and as a plaintiff). In

 2   connection with these lawsuits, I may have a right to damages and/or attorneys’ fees,
 3
     although I do not expect to receive any such monies in the near term. Some of these
 4
 5   lawsuits may also result in additional judgments against me.

 6         21.    In the recent trial in the Nike matter, the government repeatedly referenced
 7
     my alleged poor financial condition, lack of assets and income, and deep indebtedness in
 8
 9   the Spring of 2019 as evidence that I committed extortion and honest services fraud

10   against Nike and my client. They offered this evidence and argument before the jury
11
     over the repeated objection of the defense, including a motion in limine. This evidence
12
13   and argument served as one of the centerpieces of the prosecution and was highlighted in

14   the government’s closing statement. The record in the Nike case is replete with
15
     references to the government’s claims in that case before the judge and jury that I was
16
17   deeply in debt, had negligible assets and no way of paying any expenses in the Spring of

18   2019. See, e.g., Exhibit GX S-4 (government’s trial exhibit showing outstanding civil
19
     judgments against me that exceeded $11 million) and Nike Docket No. 108 (Case No.
20
21   1:19-CR-00373-PGG: Government’s opposition to Mr. Avenatti’s motion in limine
22   regarding his financial condition).
23
24
25
26
27
28
                                                  6
